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Case:15-07088-BKT11 Doc#:110 Filed:01/13/16 Entered:01/13/16 18:14:54   Desc: Main
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Case:15-07088-BKT11 Doc#:110 Filed:01/13/16 Entered:01/13/16 18:14:54   Desc: Main
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